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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

CASIO COMPUTER CO., LTD.,                                 )
                                                          )   Case No. 23-cv-15750
                 Plaintiff,                               )
                                                          )
                                                          )    Judge Charles P. Kocoras
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                 Defendants.                              )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff CASIO COMPUTER
CO., LTD. hereby dismisses with prejudice all causes of action in the complaint as to the Defendants
identified below and in Schedule A. No motions are pending relative to these Defendants. Each party
shall bear its own attorney's fees and costs.
        No.      Defendant
        41       mobile_spirit
        55       starstar007
        65       zhuk12

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.


                                          Respectfully submitted,
Dated: January 12, 2024                   By:     s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Robert P. McMurray (Bar No. 6324332)
                                                  Hughes Socol Piers Resnick & Dym, Ltd.
                                                  Three First National Plaza
                                                  70 W. Madison Street, Suite 4000
                                                  Chicago, Illinois 60602
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                                                  Attorneys for Plaintiff
                                                  CASIO COMPUTER CO., LTD.
    Case: 1:23-cv-15750 Document #: 36 Filed: 01/12/24 Page 2 of 2 PageID #:1578




                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on January 12, 2024.



                                                          s/Michael A. Hierl
